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                           EXHIBIT 8
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 UNITED STATES DISTRICT COURT                                  EASTERN DISTRICT OF TEXAS


TANK PUNK, INC.,                  §
                                  §
            Plaintiff,            §
                                  §
versus                            §                             CIVIL ACTION NO. 1:15-CV-461
                                  §
SPIKE SHIPPING, LTD, ADVANTAGE    §
ANTHEM SHIPPING, LLC,GENEL        §
DENIZCILIK NAKLIYATI A.S. a/k/a   §
GEDEN LINES, ADVANTAGE TANKERS, §
LLC, ADVANTAGE HOLDINGS, LLC, and §
FORWARD HOLDINGS, LLC,            §
                                  §
            Defendants.           §

                          AMENDED ORDER OF DISMISSAL AND
                         DIRECTING THE RELEASE OF SECURITY

        Plaintiff Tank Punk, Inc.’s (“Tank Punk”) Unopposed Motion to Dismiss and Release

Security (#7) is GRANTED.1 Accordingly, the above-styled case is dismissed in its entirety, with

prejudice. Each party shall bear its own costs of court and attorney’s fees.

        The Clerk of the Court is ORDERED to release the funds currently held in the Registry

of the Court in the amount of $1,183,088.00, together with all accrued interest, to Advantage

Anthem Shipping, LLC; Advantage Tankers, LCC; Advantage Holdings, LLC; and Forward

Holdings, LLC (“the Advantage Defendants”). The Clerk of the Court is directed to return the

funds to the Advantage Defendants, c/o Mr. Marc G. Matthews, Phelps Dunbar, LLP, 500 Dallas




        1
          The court previously issued an Order of Dismissal and Directing the Release of Security (#8) on
November 17, 2016. On November 18, 2016, Tank Punk’s counsel called and informed the Clerk of the
Court that the payee listed in Tank Punk’s motion and proposed order was incorrect. Accordingly, the
court issues this amended order directing the return of security to the appropriate payee.
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Street, Suite 1300, Houston, Texas 77702.2 The Clerk of the Court is absolved from any liability

in complying with this order, and it shall be counsels’ responsibility to confirm that any action

required of the Clerk of the Court by this order has been performed.

       THIS IS A FINAL JUDGMENT.


           Signed this date
           Nov 18, 2016




       2
           The check should list Phelps Dunbar LLP Trust Account as the payee.

                                                  2
